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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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H. JACK nowNEY, ELIZABETH mg ,;_,-,;:¢;:__};;» COU?T
M. nowNEY, PAUL F. ALEXANDER, “"’~~*‘WS

and BRYAN L. SANDERS,
Plaintiffs,
No. 04-3009 Ml/P

V.

DUNCAN WILLIAMS, INC.,

vvvvvvvvvvv

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO DISMISS

 

Before the Court is Defendant's Motion to Dismiss, filed
January 25, 2005. Plaintiffs responded in opposition on February
22, 2005. Defendant filed a reply that was docketed on March 9,
2005. Plaintiffs filed a response to Defendant’s reply on March
lG, 2005. Pursuant to the Court's authorization at the parties'
April 25, 2005, status conference, Defendant submitted a
supplemental memorandum on April 29, 2005.1 For the following
reasons, Defendant's motion to dismiss Plaintiffs’ federal

securities fraud claims is GRANTED and Plaintiffs’ state law

 

l In support of their respective positions regarding
Defendant's motion to dismiss, both parties have submitted

affidavits or declarations. (See Affidavit of John S. Jumper
(Docket No. 8); Affidavit of Donald Malmo (Docket No. 9);
Declaration of H. Naill Falls Jr. (Docket No. 18).) The Court

has not considered these documents in ruling on Defendant's
motion to dismiss.

Thts document entered on the docket sheet in compliance
with Ftule 58 ancher 79(a) FRCP on '

 

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claims are REMANDED to the Circuit Court of Shelby County for the
Thirtieth Judicial District at Memphis.

The instant case relates to Plaintiffs' purchase of
municipal bonds from Defendant Duncan Williamsr Inc., the
underwriter of the bonds, as well as another underwriter, Cardy
and Company, in June and July of 2000. In their Complaint,
Plaintiffs assert claims pursuant to federal securities laws,
including § 10(b) of the Securities and Exchange Act of 1934 (the
“1934 Act”), 15 U.S.C. § 78j and Rule lO(b}B(a) of the Securities
and Exchange Commission Regulations promulgated under the 1934
Act; the Tennessee Securities Act, TCA § 48-2-121-22; and
Tennessee common law claims of fraud, breach of fiduciary duty,
negligence and aiding and abetting common law fraud. Defendant
moves to dismiss Plaintiffs’ claims as untimely and because
Plaintiffs fail to state a cause of action upon which relief may
be granted pursuant to the Private Securities Litigation Reform
Act (“PSLRA”), 15 U.S.C. § 78u-4 or under Tennessee law.

I. BACKGROUND AND RELEVANT FACTS

In'April of 2000, the Capstone Improvement District of
Brookwood, Alabama issued Series 2000 municipal bonds (“Capstone
Bonds") in the amount of $13 million to provide financing for a
residential real estate development in Brookwoodr Alabama. In
July of 2000, Defendant Duncan Williams, Inc., a broker dealer

engaged in the securities business, sold Plaintiff Paul Alexander

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$5,000 worth of Capstone Bonds. In June of 2000, Plaintiffs Jack
and Elizabeth Downey bought $15,000 worth of Capstone bonds from
a firm called Carty & Co., which had purchased the bonds from
Defendant. Also in June of 2000, Plaintiff Bryan Sanders bought
$5,000 worth of Capstone bonds from Carty & Co. Defendant was a
co-underwriter of the Capstone Bonds.

From the time of purchase of the Capstone Bonds until August
of 2003, Plaintiffs received sami-annual interest payments. In
August of 2003, the bond issuer defaulted on the interest
payments due from the Capstone Bonds.

Plaintiffs claim that Defendant knew and/or recklessly
ignored and failed to disclose to Plaintiffs certain material
facts, the absence of which Plaintiffs relied upon in purchasing
the bonds. The facts that Plaintiffs allege were not disclosed
are described in paragraph 11 of Plaintiffs' Complaint. {Pls.'
Compl. 1 17.) In particular, Plaintiffs contend that Defendant
did not disclose the fact that he had insufficient time to
investigate the bond issue because he agreed to be the co-
underwriter of the bond issue only three days before it closed
after another underwriter had backed out; that the primary
manager of the project had obtained that position by default due
to a disagreement among other principals, had never managed a
real estate development and lacked time and experience to do so;

that the former lead figure in the development had been pushed

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out of the lead role but retained an interest in the project;
that 15% of the cash raised by the bond issue was paid to the
development company for construction work done prior to the bond
offering; that no meaningful cost estimates or plans were made
regarding and no expert opinion supported a $12 million estimated
cost for a crucial 4.7 mile corridor road linking the development
with the nearest highway; that insufficient funds were available
to pay the principal and interest payments over the life of the
bonds; that the estimate of the total amount of sales the project
could generate was not supported by an appraisal; that the
projected timetable for sales was unreasonably optimistic; that
on May 8, 2000, Defendant was advised that the developer was
negotiating to sell approximately one quarter of the lots at
prices significantly below those used in projections in the
Official Statement; and that Defendant failed to investigate the
amount of net assets of the guarantor of the bonds, which was
significantly inflated. (Pls.’ Compl. 1 17.) Plaintiffs also
contend that Defendant became aware of information during the
course of the project that made obvious the imminence of a bond
default, but that it did not share that information with
Plaintiffs. (Pls.' Compl. 1 20.) Defendant contends that the
Official Statement disseminated with the Capstone Bonds expressly

described numerous risk factors associated with the Capstone

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Bonds and the underlying project and that it did not fail to
disclose any material information.
II. STANDARD OF REVIEW

A defendant may move to dismiss a claim “for failure to
state a claim upon which relief can be granted” under Federal
Rule of Civil Procedure 12(b)(6). Fed. R. Civ. P. 12(b)(6).
When considering a Rule 12(b)(6) motion, a court must treat all
of the well-pleaded allegations of the complaint as true. Saylor
v. Parker Seal Co., 975 F.2d 252, 254 (6th Cir. 1992).
Furthermore, the court must construe all of the allegations in
the light most favorable to the non-moving party. Scheuer v.
Rhodes, 416 U.S. 232, 236 {19?4). “A court may dismiss a [claim
under 12{b)(6)] only if it is clear that no relief could be
granted under any set of facts that could be proved consistent
with the allegations.” Hishon v. King & Spalding, 467 U.S. 69,
73 (1984).
III. ANALYSIS

Defendant moves to dismiss Plaintiffs’ claims because they
are assertedly untimely and fail to state a claim under the
PSLRA. Because the Court finds that Plaintiffs have failed to
properly plead their claims pursuant to the PSLRA, the Court does
not address Defendant's contention that Plaintiffs’ claims are

untimely.

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A. Federal Securities Claims

Defendant moves to dismiss Plaintiffs’ claims because
Plaintiffs' Complaint assertedly fails to meet the heightened
pleading standards for securities fraud cases contained within
the PSLRA. In order to state a claim under § 10(b) of the 1934
Act and Rule 10b-5, “a plaintiff must allege, in connection with
the purchase or sale of securities, the misstatement or omission
of a material fact, made with scienter, upon which the plaintiff
justifiably relied and which proximately caused the plaintiff's
injury.” In re Comshare Inc. Securities Litiqation, 183 F.3d
542, 548 (6th Cir. 1999). The PSLRA further requires that a
complaint in a federal securities fraud case must “specify each
statement alleged to have been misleading, the reason or reasons
why the statement is misleading, and, if an allegation regarding
the statement or omission is made on information and belief, the
complaint shall state with particularity all facts On which that
belief is formed.” 15 U.S.C. § 78u-4(b)(1).

Defendant first contends that Plaintiffs have failed to
adequately plead material misrepresentations or omissions with
the particularity required by the PSLRA. Specifically, Defendant
contends that Plaintiffs fail to state with particularity the
facts upon which their beliefs about those alleged omissions are
formed and that the allegedly omitted facts to which Plaintiffs

point are not material. Plaintiffs contend that they have

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alleged in their Complaint specific, material facts which
Defendant omitted and that they are not required by the PSLRA to
state the basis for the allegations in their Complaint.

Under the PSLRA, when an allegation is made upon information
and belief, “the complaint shall state with particularity all
facts on which that belief is formed.” 15 U.S.C. § 78u-4(b)(1);
see also Fidel v. Farle , 392 F.3d 220, 221 (6th Cir.
2004)(citing 15 U.S.C. § 78u-4(b)(1)). The United States Court
of Appeals for the Sixth Circuit has not yet addressed exactly
what information a plaintiff in a securities fraud case must
include in a complaint to meet this requirement of the PSLRA.

The Second Circuit, however, has found that “a complaint can meet
the new pleading requirement imposed by paragraph (b)(l) by
providing documentary evidence and/or a sufficient general
description of the personal sources of the plaintiffs’ beliefs.”
Novak v. Kasaks, 216 F.3d 300, 314 (2nd Cir. 2000); see also A§§
Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d 336, 353 {5th
Cir. 2002)(adopting the Ngyak standard). The Court finds the
rule adopted by the Second Circuit Court of Appeals persuasive
and adopts it here.

A review of Plaintiffs' Complaint indicates that Plaintiffs'
allegations are not based upon personal knowledge. The
allegations in Paragraphs 1? and 20, in particular, relate to

information about which Defendant was aware but allegedly did not

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disclose to Plaintiffs. Accordingly, Plaintiffs did not have
personal knowledge of that information as of the time of their
purchase of the bonds, and must have gained that knowledge from
extrinsic sources sometime prior to the filing of their
Complaint. Since Plaintiffs do not assert that any of the
allegations in the Complaint are based upon personal knowledge,
ipso facto, Plaintiffs' allegations must be based upon
information and belief.2 §ee ABC Arbitrage, 291 F.3d at 351
(finding allegations not based upon personal knowledge are
necessarily pleaded on information and belief).

In Paragraphs 17(a)-(l) of their Complaint, Plaintiffs
allege that Defendant omitted several material facts upon whose
absence Plaintiffs relied in purchasing the Capstone bonds.
Plaintiffs’ Complaint, however, fails to state any basis for the

allegations in Paragraph 17.3 Plaintiffs do not refer to any

 

2Only one paragraph of Plaintiffs' Complaint specifically
indicates that it is made upon information and belief (See
Complaint, l 14.)

3 The only allegation that is supported by any indication of
the basis for it is Paragraph 17(d). That paragraph alleges that
the primary manager of the Capstone project, Eugene Borgosz, had
never managed a real estate development and was the Chief
Executive Officer of three other companies at the time of the
Capstone project, therefore he lacked the time and experience to
do the job properly. To support that allegation, Plaintiff \
references a letter dated February 10, 2001, to Duncan Williams
that states “for months it has been suggested that the
development hire a competent, experienced individual to
coordinate and manage all aspects of the development.” However,
that statement does not provide a factual basis for the
allegations in Paragraph 17(d).

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documentary evidence to support their allegations, nor do they
provide any description of the personal sources of their beliefs.
Because Plaintiffs fail to point to any basis whatsoever for the
allegations in Paragraph 17 of their Complaint, Plaintiffs have
failed to comply with the pleading requirements of 15 U.S.C. §
T8-u(4)(b)(l). Accordingly, Plaintiffs' Complaint is DISMISSED.

Even if Plaintiffs had sufficiently pled their factual
allegations, however, Plaintiffs have failed to plead scienter
with the particularity required by the PSLRA. The PSLRA requires
that a complaint for securities fraud “state with particularity
facts giving rise to a strong inference that the defendant acted
with the required state of mind.” 15 U.S.C. § ?8u-4(b)(2). With
respect to the relevant state of mind required to be liable for
securities fraud, the Sixth Circuit has held that “a defendant in
an action for securities fraud may be liable for recklessness,
that is, ‘highly unreasonable conduct which is an extreme
departure from the standards of ordinary care.’” Helwig v.
Vencorl lnc., 251 F.3d 540, 550 (6th Cir. 2001)(citation
Omitted).

Under the PSLRA, the inference of scienter must be “strong.”
PR Diamonds, lnc. v. Chandler, 364 F.3d 6?1, 682 (6th Cir. 2004)
The Sixth Circuit has defined a “strong inference” of scienter
as:

[R]easonable and strong - but not irrefutable. “Strong
inferences” nonetheless involve deductive reasoning;

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their strength depends on how closely a conclusion of
misconduct follows from a plaintiff's proposition of
fact. Plaintiffs need not foreclose all other
characterizations of fact, as the task of weighing
contrary accounts is reserved for the fact finder.
Rather, the “strong inference” requirement means that
plaintiffs are entitled only to the most plausible of
competing inferences.
PR Diamonds, 364 F.3d at 682 {citing Helwi , 251 F.3d at 553).
“This represents a significant strengthening of the pre~PSLRA
standard under Rule 12(b)(6), which gave the plaintiff the
benefit of all reasonable inferences, and contemplated dismissal
only if it is clear that no relief could be granted under any set
of facts that could be proved consistent with the allegations.”
Helwig, 251 F.3d at 553 (citations and internal quotation marks
omitted). Accordingly, “some inference of scienter ... is not
enough.” PR Diamonds, 364 F.3d at 684. Rather, “[t]he PSLRA
requires the Complaint to establish ... the most plausible of
competing inferences - that the Individual Defendants acted at
least recklessly, meaning that their states of mind were
reflected in highly unreasonable conduct constituting an extreme
departure from the standards of ordinary care so obvious that any
reasonable person would have known of it." Id. The Sixth Circuit
“employs a totality of the circumstances analysis whereby the
facts argued collectively must give rise to a strong inference of
at least recklessness.” Id. at 683.

Plaintiffs point to the allegations in Paragraphs 17-21 of

their Complaint to support their contention that they have

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properly alleged scienter.4 As noted above, Paragraph 17 of
Plaintiffs' Complaint describes information that Defendant
allegedly failed to disclose to Plaintiffs prior to their
purchase of the bonds. Paragraph 18 of Plaintiffs' Complaint
alleges that Defendant failed to disclose to Plaintiffs the facts
alleged in Paragraph 17. (See Pls.' Compl. T 18.) Paragraph 19
of Plaintiffs’ Complaint alleges that Defendant failed to engage
in a diligent, good faith investigation of the bonds and the
underlying bond project before selling the bonds to Plaintiffs.
(See Pls.' Compl. 1 19.) Paragraph 20 of Plaintiffs’ Complaint
describes facts that occurred following the sale of the bonds to
Plaintiffs that allegedly demonstrate Defendant's kowledge that
the bond project was “off~track from the beginning.” {Pls.'
Compl. 1 20.) Plaintiffs contend that these paragraphs of their
Complaint properly plead scienter by alleging conduct that was
highly unreasonable and a departure from the ordinary standard of
care.

The Court finds that, considering the totality of the
circumstances and drawing the most plausible inferences in favor
of Plaintiffs, a strong inference of scienter cannot be drawn
from the allegations in Plaintiffs' Complaint. First,r all of the

allegations in Paragraph 20 relate to events that occurred

 

4 The allegations in Paragraph 17 of Plaintiffs'r Complaint
are detailed su ra, p. 3~4.

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subsequent to the sale of the Capstone bonds to Plaintiffs.
Although it is possible that such subsequent conduct could
support some inference of scienter, the Court finds that such
information does not support a “strong inference” of Defendant's
scienter at the time of the sale of the bonds. Additionally, the
allegations in Paragraphs 17 through 19 of Plaintiffs' Complaint
merely detail the information that Defendant allegedly failed to
disclose or obtain prior to the sale - which the Court finds does
not establish that Defendant's recklessness was the “most
plausible of competing inferences.” §ge PR Diamonds, 364 F.3d at
684. Accordingly, even if Plaintiffs had properly pled their
claims, Plaintiffs’ claims would be dismissed for failure to

sufficiently plead scienter under the PSLRA.5

 

5 Plaintiffs' March 10, 2005, response to Defendant's reply
in support of its motion to dismiss stated, in relevant part:
Plaintiffs believe that their complaint satisfied the
various pleading standards applicable to their claims.
Nevertheless, if the Court believes that plaintiffs are
required to identify further the sources of their
factual allegations, then plaintiffs respectfully
request leave to file an amended complaint doing so.
(Pls.' Resp. to Def.'s Reply in Supp. of Def.'s Mot. to Dismiss.)
lt would not be appropriate for the Court, however, consistent
with its role as an impartial adjudicator, to advise Plaintiffs
regarding whether or not to file an amended complaint. As of the
date of this order, Plaintiffs have not filed a motion for leave
to file an amended complaint and the Court has not granted
Plaintiffs leave to do so. Additionally, Plaintiffs were
afforded the opportunity to provide supplemental materials
subsequent to the parties April 25, 2005, status conferencer but
chose within their right not to do so.

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2. State Law Claims

Having granted Defendant's motion to dismiss Plaintiffs'
federal securities fraud claimsr the Court exercises its
discretion to decline to assert supplemental jurisdiction over
Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367(c)(3).6
Accordingly, Plaintiffs' state law claims against Defendant are
hereby DISMISSED.
IV. CONCLUSION

For the reasons stated, Defendant's motion to dismiss
Plaintiffs' federal securities fraud claims is GRANTED and the

Court DISMISSES Plaintiffs’ state law claims.

So ORDERED this |qth day of July, 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

 

6 Plaintiffs' Complaint asserted that the Court had federal
question jurisdiction over Plaintiffs' federal securities law
claims pursuant to 15 U.S.C. § 78aa and 28 U.S.C. § 1331, and
supplemental jurisdiction over Plaintiffs’ state law claims
pursuant to 28 U.S.C. § 1367. (See Pls.’ Compl. 1 8.}

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UNITED STATES D

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Honorable J on McCalla
US DISTRICT COURT

